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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,            No. 2:09-cr-125-01 WBS
13                  Plaintiff,            ORDER
14        v.
15   SARTAJ CHAHAL,
16                  Defendant.
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19             Before the court is defendant’s pro se motion for a

20   sentence reduction under “recent amendments to the Sentencing

21   Guidelines.”    (Docket No. 292.)    The motion requests a reduction

22   and contends that the drug quantities at issue “were [not]

23   accurately calculated,” though the motion provides no reasoning

24   or evidence in support of the request.

25             Pursuant to General Order 546, the Office of the

26   Federal Defendant was appointed to represent defendant on any

27   motion to reduce sentence under 18 U.S.C. § 3582(c)(2) and

28   Amendment 782.    (Docket No. 296.)     However, on December 20, 2019,
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1    the Office of the Federal Defender stated that it would not file

2    a supplement to defendant’s pro se motion.        (Docket No. 299.)

3              The Office of the Federal Defender, as appointed

4    counsel, is obligated to vigorously advocate the defendant’s

5    cause.   See, e.g., Strickland v. Washington, 466 U.S. 668, 688

6    (1984) (defense counsel’s “function is to assist the defendant”

7    and has an “overarching duty to advocate the defendant’s cause”).

8    In light of this obligation, the court construes the Office’s

9    statement that it would not file a supplement to the pro se

10   motion as a recognition that there is no colorable argument that

11   may be made in support of a sentence reduction.         Further, as

12   discussed above, defendant’s motion provides no argument or

13   evidence in support of the requested relief.         Because both

14   defendant, acting pro se, and his appointed counsel provide no

15   reason why defendant is entitled to any relief, defendant’s

16   motion (Docket No. 292) is DENIED.

17             IT IS SO ORDERED.

18   Dated:   January 14, 2020

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